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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                       CASE NO.: 9:11-CV-81329-CIV – HURLEY/HOPKINS

   UNITED SUBCONTRACTORS, INC.,
   a foreign corporation,

                  Plaintiff,
   v.

   RONALD GODWIN, individual, and                                   JURY DEMAND
   INSTALLED BUILDING PRODUCTS II, LLC                            ENDORSED HEREON
   and IBP HOLDINGS, LLC

               Defendants.
   _________________________________________/

                     AMENDED ANSWER AND COUNTERCLAIM
          OF INSTALLED BUILDING PRODUCTS II, LLC AND IBP HOLDINGS, LLC

          For their amended answer to the Amended Complaint of Plaintiff United Subcontractors,

   Inc. (“USI”), Defendants Installed Building Products II, LLC and IBP Holdings, Inc.

   (collectively, “IBP”) aver as follows:

                                            First Defense

          1.      Defendants state that Paragraph 1 of Plaintiff’s Amended Complaint does not

   require an answer as it is a preamble or statement. Answering further, IBP admits that Defendant

   Godwin resigned from USI and went to work for IBP. Answering further, IBP denies the

   remaining allegations contained in Paragraph 1 of the Amended Complaint.

          2.      Defendants state that no answer is required as to Paragraph 2 insofar as it is a

   preamble. Answering further, IBP states that the alleged Employment Agreements speak for

   themselves. Answering further, IBP denies the remaining allegations in Paragraph 2 of the

   Amended Complaint.
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          3.      Defendants state that Paragraph 3 of the Amended Complaint is a preamble and

   does not require an answer.      Answering further, IBP denies the allegations contained in

   Paragraph 3 of the Amended Complaint.

          4.      Defendants lack knowledge regarding the claims asserted in Paragraph 4 of the

   Amended Complaint and therefore denies the same.

          5.      Defendants lack knowledge regarding the claims asserted in Paragraph 5 of the

   Amended Complaint and therefore denies the same.

          6.      Defendants lack knowledge regarding the claims asserted in Paragraph 6 of the

   Amended Complaint and therefore denies the same.

          7.      Defendants deny the allegations contained in Paragraph 7 of the Amended

   Complaint as “Installed Building Products” is not an entity.

          8.      Defendants deny the allegations contained in Paragraph 8 of the Amended

   Complaint.

          9.      Installed Building Products II, LLC admits that its principal place of business is

   495 South High Street, Suite 50, Columbus, Ohio 43215. Answering further, Defendants deny

   the remaining allegations contained in Paragraph 9 of the Amended Complaint.

          10.     IBP Holdings, LLC admits that its principal place of business is at 495 South

   High Street, Suite 50, Columbus, Ohio 43215. Answering further, IBP Holdings, LLC denies the

   remaining allegations contained in Paragraph 10 of the Amended Complaint.

          11.     Defendants deny the allegations contained in Paragraph 11 of the Amended

   Complaint as “Installed Building Products” is not an entity.




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          12.    Defendants deny that IBP Holdings, LLC and Installed Building Products II, LLC

   have business operations and conduct business in Florida. Answering further, Defendants admit

   that Any Seasons Insulation, LLC conducts business in the state of Florida.

          13.    Defendants deny that Ronald Godwin is an employee at IBP. Answering further,

   Defendants deny the remaining allegations contained in Paragraph 13 of the Amended

   Complaint.

          14.    Defendants deny the allegations contained in Paragraph 14 of the Amended

   Complaint.

          15.    Defendants deny the allegations contained in Paragraph 15 of the Amended

   Complaint.

          16.    Defendants deny the allegations contained in Paragraph 16 of the Amended

   Complaint.

          17.    Defendants deny that they directly derive profits and revenue from business

   conducted in Florida.

          18.    Defendants deny the allegations contained in Paragraph 18 of the Amended

   Complaint.

          19.    Defendants deny the allegations contained in Paragraph 19 of the Amended

   Complaint.

          20.    Defendants state that Fla. St. § 48.193 speaks for itself and does not require an

   answer. Answering further, Defendants deny the remaining allegations contained in Paragraph

   20 of the Amended Complaint.

          21.    Defendants state that Godwin’s alleged Employment Agreements speak for

   themselves and thus, Paragraph 21 requires no answer.




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          22.    Defendants deny the allegations contained in Paragraph 22 of the Amended

   Complaint.

          23.    Defendants deny the allegations contained in Paragraph 23 of the Amended

   Complaint.

          24.    Defendants admit that the insulation industry can be highly competitive in some

   respects but not in others. Answering further, Defendants lack knowledge regarding the claims

   asserted in Paragraph 24 of the Amended Complaint and therefore deny the same.

          25.    Defendants lack knowledge regarding the claims asserted in Paragraph 25 of the

   Amended Complaint and therefore deny the same.

          26.    Defendants lack knowledge regarding the claims asserted in Paragraph 26 of the

   Amended Complaint and therefore deny the same.

          27.    Defendants lack knowledge regarding the claims asserted in Paragraph 27 of the

   Amended Complaint and therefore deny the same.

          28.    Defendants lack knowledge regarding the claims asserted in Paragraph 28 of the

   Amended Complaint and therefore deny the same.

          29.    Defendants state that the Asset Purchase Agreement speaks for itself and thus no

   answer is required. Answering further, Defendants deny the allegations contained in Paragraph

   29 of the Amended Complaint.

          30.    Defendants lack knowledge regarding the claims asserted in Paragraph 30 of the

   Amended Complaint and therefore deny the same.

          31.    Defendants state that the alleged 2005 Employment Agreement speaks for itself.

   Answering further, Defendants lack knowledge regarding the claims asserted in Paragraph 31 of

   the Amended Complaint and therefore deny the same.




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          32.    Defendants state that the 2005 alleged Employment Agreement speaks for itself

   and thus no answer is required. Answering further, Defendants deny the remaining allegations in

   Paragraph 32 of the Amended Complaint.

          33.    Defendants state that the 2005 alleged Employment Agreement speaks for itself

   and thus no answer is required.

          34.    Defendants state that the 2005 alleged Employment Agreement speaks for itself

   and thus no answer is required.

          35.    Defendants state that the 2005 alleged Employment Agreement speaks for itself

   and thus no answer is required.

          36.    Defendants lack knowledge regarding the claims asserted in Paragraph 36 of the

   Amended Complaint and therefore deny the same.

          37.    Defendants lack knowledge regarding the claims asserted in Paragraph 37 of the

   Amended Complaint and therefore deny the same.

          38.    Defendants lack knowledge regarding the claims asserted in Paragraph 38 of the

   Amended Complaint and therefore deny the same.

          39.    Defendants lack knowledge regarding the claims asserted in Paragraph 39 of the

   Amended Complaint and therefore deny the same.

          40.    Defendants lack knowledge regarding the claims asserted in Paragraph 40 of the

   Amended Complaint and therefore deny the same.

          41.    Defendants admit that Godwin worked for IBP as a Vice President of Sales.

   Answering further, Defendants admit that USI and IBP are competitive in some markets.

   Answering further, Defendants deny the remaining allegations contained in Paragraph 41 of the

   Amended Complaint.




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          42.    Defendants deny the allegations contained in Paragraph 42 of the Amended

   Complaint.

          43.    Defendants admit that they offer some of the same services and products to its

   clients as USI. Answering further, Defendants admit that in certain markets, they offer products

   and services related to residential insulation, commercial insulation, shower doors and

   enclosures, shelving, mirrors, gutters, garage doors and fireplaces to homeowners and builders.

   Answering further, Defendants deny the remaining allegations contained in Paragraph 43 of the

   Amended Complaint.

          44.    Defendants deny they were aware or are aware of any valid non-compete for Mr.

   Godwin. Answering further, Defendants deny the remaining allegations contained in Paragraph

   44 of the Amended Complaint.

          45.    Defendants deny that they were sent a letter on November 17, 2011. Answering

   further, Defendants state that a letter was sent on or about November 17, 2011 to “Installed

   Building Products,” the content of which speaks for itself. Answering further, Defendants deny

   the remaining allegations contained in Paragraph 45 of the Amended Complaint.

          46.    Defendants state that the contents of the letter speak for themselves and do not

   require any response. Defendants admit that USI attached a copy of the 2003 Professional

   Insulators Agreement to the letter.     Answering further, Defendants deny the remaining

   allegations contained in Paragraph 46 of the Amended Complaint.

          47.    Defendants deny the allegations contained in Paragraph 47 of the Amended

   Complaint.

          48.    Defendants deny the allegations contained in Paragraph 48 of the Amended

   Complaint.




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         49.    Defendants incorporate as if rewritten herein Paragraphs 1 through 48 above.

         50.    Defendants deny the allegations contained in Paragraph 50 of the Amended

   Complaint.

         51.    Defendants deny the allegations contained in Paragraph 51 of the Amended

   Complaint.

         52.    Defendants deny the allegations contained in Paragraph 52 of the Amended

   Complaint.

         53.    Defendants deny the allegations contained in Paragraph 53 of the Amended

   Complaint.

         54.    Defendants deny the allegations contained in Paragraph 54 of the Amended

   Complaint.

         55.    Defendants incorporate as if rewritten herein Paragraphs 1 through 54 above.

         56.    Defendants deny the allegations contained in Paragraph 56 of the Amended

   Complaint.

         57.    Defendants deny the allegations contained in Paragraph 57 of the Amended

   Complaint.

         58.    Defendants deny the allegations contained in Paragraph 58 of the Amended

   Complaint.

         59.    Defendants deny the allegations contained in Paragraph 59 of the Amended

   Complaint.

         60.    Defendants deny that Godwin had disclosed, communicated or disseminated to

   IBP, USI’s confidential information.   Answering further, Defendants state that the alleged




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   Employment Agreements speak for themselves.          Answering further, Defendants deny the

   remaining allegations contained in Paragraph 60 of the Amended Complaint.

          61.     Defendants deny the allegations contained in Paragraph 61 of the Amended

   Complaint.

          62.     Defendants incorporate as if rewritten herein Paragraphs 1 through 61 above.

          63.     Defendants deny the allegations contained in Paragraph 63 of the Amended

   Complaint.

          64.     Defendants deny the allegations contained in Paragraph 64 of the Amended

   Complaint.

          65.     Defendants deny the allegations contained in Paragraph 65 of the Amended

   Complaint.

          66.     Defendants deny the allegations contained in Paragraph 66 of the Amended

   Complaint.

          67.     Defendants deny the allegations contained in Paragraph 67 of the Amended

   Complaint.

          68.     Defendants incorporate as if rewritten herein Paragraphs 1 through 67 above.

          69.     Defendants lack knowledge regarding the claims asserted in Paragraph 69 of the

   Amended Complaint and therefore deny the same.

          70.     Defendants deny that a correspondence was sent to IBP. Answering further,

   Defendants admit that on or about November 17, 2011, USI sent a letter to “Installed Building

   Products” attaching a document purporting to be an agreement between Godwin and Professional

   Insulators.   Answering further, Defendants deny the remaining allegations contained in

   Paragraph 70 of the Amended Complaint.




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          71.    Defendants state that the letter and document referenced therein speaks for

   themselves and require no answer. Answering further, Defendants admit that a copy of a

   document purporting to be between Godwin and Professional Insulators was attached as Exhibit

   C. Answering further, Defendants deny the remaining allegations contained in Paragraph 71 of

   the Amended Complaint.

          72.    Defendants deny that Godwin still works for IBP. Answering further, Defendants

   deny that they ever used USI confidential, proprietary, or trade secret information. Answering

   further, Defendants deny the remaining allegations contained in Paragraph 72 of the Amended

   Complaint.

          73.    Defendants deny the allegations contained in Paragraph 73 of the Amended

   Complaint.

          74.    Defendants incorporate as if rewritten herein Paragraphs 1 through 73 above.

          75.    Defendants lack knowledge regarding the claims asserted in Paragraph 75 of the

   Amended Complaint and therefore deny the same.

          76.    Defendants lack knowledge regarding the claims asserted in Paragraph 76 of the

   Amended Complaint and therefore deny the same.

          77.    Defendants admit that Godwin was employed for a period of time at IBP.

   Answering further, Defendants deny the remaining allegations contained in Paragraph 77 of the

   Amended Complaint.

          78.    Defendants deny the allegations contained in Paragraph 78 of the Amended

   Complaint.

          79.    Defendants deny the allegations contained in Paragraph 79 of the Amended

   Complaint.




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          80.     Defendants deny the allegations contained in Paragraph 80 of the Amended

   Complaint.

          81.     Defendants deny the allegations contained in Paragraph 81 of the Amended

   Complaint.

          82.     Defendants deny the allegations contained in Paragraph 82 of the Amended

   Complaint.

          83.     Defendants incorporate as if rewritten herein Paragraphs 1 through 82 above.

          84.     Defendants deny the allegations contained in Paragraph 84 of the Amended

   Complaint.

          85.     Defendants deny the allegations contained in Paragraph 85 of the Amended

   Complaint.

          86.     Defendants deny the allegations contained in Paragraph 86 of the Amended

   Complaint.

          87.     Defendants deny the allegations contained in Paragraph 87 of the Amended

   Complaint.

          88.     Defendants deny any allegation contained in the Amended Complaint not

   specifically admitted herein.

                                            Second Defense

          89.     Plaintiff fails to state a cause of action upon which relief can be granted insofar as

   the civil conspiracy claim cannot be alleged as arising from a breach of contract.




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                                              Third Defense

          90.     Plaintiff’s claims fail as USI’s alleged employment agreements constitute a fraud

   upon the Court because despite Godwin testifying that he did not sign the 2005 Agreement, USI

   still proffered the agreement to the Court seeking its enforcement.

                                             Fourth Defense

          91.     Plaintiff’s claims fail for failure to fulfill a condition precedent to the enforcement

   of any non-compete agreement with Mr. Godwin by failing to pay him his earned bonus.

                                                 Fifth Defense

          92.     Plaintiff’s claim against IBP fails because the Court lacks personal jurisdiction

   over Installed Building Products, LLC and IBP Holdings, LLC, neither of which do business in

   the State of Florida.

                                              Sixth Defense

          93.     Plaintiff’s Amended Complaint fails to state a cause of action for breach of

   contract because no enforceable agreement exists between Godwin and USI.

                                            Seventh Defense

          94.     Plaintiff’s Amended Complaint fails because USI lacks the ability to enforce the

   2003 Professional Insulator’s agreement because it was never assigned to USI through the asset

   purchase transaction, Godwin never consented to the assignment of the agreement, and USI is

   not a successor to Professional Insulators.

                                             Eighth Defense

          95.     Plaintiff’s Amended Complaint fails because the noncompete provisions of the

   2003 Agreement are overbroad and unenforceable.




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                                              Ninth Defense

          96.     Plaintiff’s Amended Complaint fails because the noncompete provisions of the

   2005 Agreement are overbroad and unenforceable by, including but not being limited to, being

   unreasonable in time, scope, failing to protect any protectable interest, and by USI’s inability to

   identify any confidential information or trade secrets deserving of protection in the Amended

   Complaint.

                                              Tenth Defense

          97.     Plaintiff’s Amended Complaint fails as the 2003 Agreement was terminated upon

   the sale of Professional Insulator’s other assets to USI.

                                            Eleventh Defense

          98.     Plaintiff’s Amended Complaint fails under the 2003 or 2005 Agreements because

   the Amended Complaint sets forth no protectable interest USI is seeking to protect.

                                             Twelfth Defense

          99.     Plaintiff’s Amended Complaint fails because Plaintiff has no protectable interest

   in any at-will relationship with any of its customers, all of which are publicly known through

   various permitting and bidding processes.

                                           Thirteenth Defense

          100.    Plaintiff’s bankruptcy rendered any employment agreement or restrictive

   covenant between USI and Professional Insulators on one hand and Godwin on the other invalid

   and unenforceable.




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                                          Fourteenth Defense

          101.    Plaintiff has failed to state a claim against IBP for tortious interference with

   Godwin’s relationship with USI because IBP had no knowledge of any valid and enforceable

   agreement between USI and Godwin when he was hired.

                                           Fifteenth Defense

          102.    Plaintiff has failed to state a claim against IBP for tortious interference with

   Godwin’s relationship with USI because there is no valid and enforceable agreement between

   USI and Godwin.

                                           Sixteenth Defense

          103.    Plaintiff has failed to state a claim against IBP for tortious interference with USI’s

   business relationship because Godwin did not solicit USI clients or referral sources, including

   within the restricted area of the alleged agreements.

                                          Seventeenth Defense

          104.    Plaintiff’s Amended Complaint is barred by Plaintiff’s unclean hands by failing to

   pay Godwin his earned 2010 bonus and bringing suit against IBP even though it has failed to

   identify a single breach of any alleged agreement.

                                          Eighteenth Defense

          105.     Plaintiff’s claim against IBP for attorneys’ fees fails to state a claim pursuant to

   Florida Statute § 542.335.

                                          Nineteenth Defense

          106.    IBP reserves the right to plead any additional defenses that may be revealed

   during discovery.




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          WHEREFORE, having fully answered Plaintiff’s Amended Complaint, IBP respectfully

   requests that this Court dismiss Plaintiff’s Amended Complaint with prejudice and award their

   costs and expenses in defending this action, including attorneys’ fees and costs, and all other

   relief, both legal and equitable, as this Court may deem appropriate.



                                          COUNTERCLAIM

          Counterclaim Plaintiffs Installed Building Products II, LLC and IBP Holdings, LLC

   (collectively, “IBP”) for its counterclaim against Counterclaim Defendant United

   Subcontractors, Inc. (“USI”) hereby allege as follows:

                                            THE PARTIES

          1.      Installed Building Products II, LLC is a limited liability company organized under

   the laws of Delaware with its principal place of business in Columbus, Ohio.

          2.      IBP Holdings, LLC is a limited liability company organized under the laws of

   Delaware with its principal place of business in Columbus, Ohio.

          3.      Upon information and belief, Counterclaim Defendant United Subcontractors,

   Inc. is a Utah corporation with its principal place of business in State of Minnesota.

                                           BACKGROUND

          4.      In October 2011, IBP, without knowledge of any employment agreement between

   USI and Ronald Godwin (“Godwin”), hired Godwin. A true and accurate copy of Godwin’s

   Employment Agreement with IBP is attached as Exhibit A (“Employment Agreement”).

          5.      In Section 10 of the Employment Agreement, Godwin “represent[ed] and

   warrant[ed] that he is not party to any agreement, arrangement or other understanding with any

   person or entity which might conflict with this [Employment Agreement].”




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          6.      Section 3 of the Employment Agreement required Godwin to perform all duties

   required of a Vice President of Sales:

                  Duties. Employee shall devote his skill and experience to serving the
                  interests of the Company. During the course of his employment,
                  Employee shall at all times, faithfully, industriously and to the best of his
                  abilities, perform all duties that reasonably may be required of him by
                  virtue of his position as a Vice president of Sales and/or all projects or
                  assignments as requested by the Company. Employee shall devote his full
                  business time and effort to the affairs of the Company.

          7.      On November 9, 2011, in response to IBP telling USI that IBP wanted to defer

   any discussion of a potential transaction USI was intent on pursuing, Philip Raygorodetsky, an

   agent of USI, alleged that Godwin had a noncompete.

          8.      The following day, IBP confirmed that Godwin had been employed by IBP and

   asked USI for a copy of the alleged noncompete agreement as Godwin had represented both

   orally and in his Employment Agreement that he did not have a noncompete with USI.

          9.      A few days later, Tim Portland, the new CEO of USI, provided a copy of a July

   21, 2003 Employment Agreement purportedly between Professional Insulators Holdings, Inc.,

   Professional Insulators, Inc. and Ronald Godwin (“2003 Professional Insulator’s Document”).

   Mr. Portland proclaimed that the 2003 Professional Insulator’s Document “is a copy of Ronnie

   Godwin’s non-compete agreement.”

          10.     The 2003 Professional Insulator’s Document made no mention of USI.

          11.     On November 17, 2011, counsel for USI sent a letter, a copy of which is attached

   as Exhibit D to USI’s complaint, citing that yet a different employment agreement, this time an

   August 2005 document (“2005 Document”), precluded Godwin from working at IBP. In the

   letter USI demanded that Godwin either resign or be terminated.




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           12.    On its face, the restrictive covenant provision of the 2005 Document, the latest

   document USI contended applied to Godwin, only imposed a St. Lucie, Martin, Palm Beach,

   Broward and Dade County and 100 mile restrictions against Godwin.

           13.    The remainder of the purported restrictions in Section 8(b) of the 2005 Document

   do not apply to Godwin but rather reference “Purchaser,” “Shareholder,” “Consolidated

   Business,” and “Seller” all used as defined terms without being defined in the 2005 Document.

           14.     Godwin was never a shareholder, purchaser, or seller of USI or Professional

   Insulatiors.

           15.    The 2005 Document likewise appeared to have been cobbled together as it has a

   footer document number on all but the first and signature pages.

           16.    Godwin contends he never signed the 2005 Document or entered into its terms.

           17.    Despite all of these irregularities in the document and the fact that Godwin

   unequivocally stated that he never signed the 2005 Document, on December 1, 2011, IBP’s

   counsel sent a letter to USI’s counsel stating that while the agreements did not appear valid,

   Godwin would be required to work outside the 100 mile radius of USI’s locations while USI and

   Godwin resolved the issue.

           18.    The same day, USI’s counsel wrote IBP’s counsel stating that “Mr. Godwin lied

   to your client” and “lied by omission.”

           19.    On December 2, 2011, USI wrote IBP’s counsel demanding that Godwin be

   suspended entirely from working with IBP.

           20.    Days later, USI sued Godwin and Installed Building Products, Inc. seeking to

   enforce the 2003 Professional Insulators Document and the 2005 Document.




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                                            COUNT ONE

                      (Tortious Interference With Employment Relationship)

          21.     IBP realleges the foregoing paragraphs as if fully rewritten herein.

          22.     IBP employed Godwin on or about October 17, 2011 as a Vice President of Sales.

          23.     As of November 9, 2011 USI knew that Godwin was subject to an employment

   agreement with IBP.

          24.     Section 3 of the Employment Agreement required Godwin to perform all duties

   required of a Vice President of Sales:

                  Duties. Employee shall devote his skill and experience to serving the
                  interests of the Company. During the course of his employment,
                  Employee shall at all times, faithfully, industriously and to the best of his
                  abilities, perform all duties that reasonably may be required of him by
                  virtue of his position as a Vice president of Sales and/or all projects or
                  assignments as requested by the Company. Employee shall devote his full
                  business time and effort to the affairs of the Company.

          25.     USI first attempted to procure the breach of Godwin’s Employment Agreement

   by intentionally and without justification by first sending a number of demands that Godwin be

   terminated based upon invalid and unenforceable agreements.

          26.     When such attempts proved fruitless, USI successfully procured the breach of

   Section 3 of Godwin and IBP’s Employment Agreement by filing the above-captioned lawsuit,

   making unsubstantiated and false claims to the Court in order to secure the breach of Godwin’s

   Employment Agreement which ultimately occurred on March 9, 2012.

          27.     USI was not privileged to interfere with the Employment Agreement as USI

   knowingly did not have any post-employment restrictions or any protectable interest to enforce.




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          28.     Due to USI’s interference which caused a breach of Section 3 of the Employment

   Agreement, IBP has sustained damages related to Godwin’s employment and having to defend

   against USI’s unfounded allegations.

          29.     As a result of the foregoing, IBP has been damaged in an amount to be proven at

   trial, but not less than $75,000, plus pre- and post-judgment interest.

                                            COUNT TWO

                  (Tortious Interference With Prospective Economic Advantage)

          30.     IBP realleges the foregoing paragraphs as if fully rewritten herein.

          31.     On or about October 17, 2011, IBP and Godwin entered into a business

   relationship as evidenced by the Employment Agreement, under which Godwin would become a

   Vice President of Sales.

          32.     USI had knowledge of the business relationship between IBP and Godwin at the

   latest in November 2011.

          33.     USI intentionally and unjustifiably interfered with the IBP and Godwin’s business

   relationship by first demanding Godwin be terminated and then filing suit seeking to impose

   post-employment restrictions on Godwin based upon alleged agreements USI knows to be false

   and/or otherwise unenforceable.

          34.     In absence of USI’s tortious interference with IBP and Godwin’s business

   relationship, the parties’ understanding would have been completed and Godwin would have

   been and remained Vice President of Sales resulting in economic advantage to IBP. However,

   solely due to such interference, IBP and Godwin’s business relationship was terminated.

          35.     Due to USI’s interference, IBP has sustained damages related to its former

   business relationship with Godwin and by having to defend against USI’s unfounded allegations.




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          36.     As a result of the foregoing, IBP has been damaged in an amount to be proven at

   trial, but not less than $75,000, plus pre- and post-judgment interest.

          WHEREFORE, Plaintiff IBP demands judgment against USI as follows:

          A.      For an award of compensatory damages in excess of $75,000;

          B.      For its costs and attorneys’ fees in bringing this action; and

          C.      Any other relief as this Court may deem proper.

                                                    Respectfully submitted,

                                                    s/
                                                    John F. Mariani, Esquire
                                                    Florida Bar No.: 263524
                                                    Hank Jackson, Esquire
                                                    Florida Bar No.: 866717
                                                    SHUTTS & BOWEN LLP
                                                    1100 CityPlace Tower
                                                    525 Okeechobee Boulevard
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                                                    s/
                                                    Matthew S. Zeiger, Esquire
                                                    Admitted Pro Hac Vice
                                                    Zeiger Tigges & Little LLP
                                                    41 South High Street, Suite 3500
                                                    Columbus, Ohio 43215
                                                    Telephone: (614) 365-9900

                                                    Counsel for Defendants Installed Building
                                                    Products II, LLC and IBP Holdings, Inc.




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                                          JURY DEMAND

            Defendants hereby demand a trial by jury of all issues presented in this case by the

   maximum number of persons permitted by law.

                                               Respectfully submitted,


                                               /s/ __________
                                               John F. Mariani (263524)




                                    CERTIFICATE OF SERVICE

            The undersigned hereby certifies the foregoing was filed using the ECF system on this

   26th day of July, 2012, which will cause copies to be served upon the following ECF-registered

   counsel via email:


                                        Andrew Froman
                                        FISHER & PHILLIPS LLP
                                        2300 SunTrust Financial Centre
                                        401 East Jackson Street
                                        Tampa, Florida 33602

                                        Christopher Kammerer
                                        CHRISTOPHER KAMMERER, PLLC
                                        6600 South Dixie Highway
                                        West Palm Beach, Florida 33405



                                               s/
                                                         John F. Mariani (263524)


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